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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

 SCOTT SMITH; and JANEL DONNELLEY,
                                                       Civil No: 4:12-cv-00202-HDV-RAW
                        Plaintiffs,

 v.
                                                           RULING GRANTING
 WELLS FARGO NATIONAL                                      DEFENDANT’S MOTION TO
 ASSOCIATION; PREMIER FINANCIAL                            TRANSFER, AND ORDER
 SERVICES, INC.; JOHN DOES 1-50; and                       TRANSFERRING CASE
 JANE DOES 1-100,

                        Defendants.


       Plaintiffs Scott Smith and Janel Donnelley, acting pro se, sue defendants Wells Fargo

National Association, Premier Financial Services, Inc., John Does 1-50, and Jane Does 1-100,

asserting multiple federal and state claims relating to a home mortgage. This court has federal

question jurisdiction over the federal claims pursuant to 28 U.S.C. § 1331 and supplemental

jurisdiction over the state claims pursuant to 28 U.S.C. § 1367.

       Before the court is defendant Wells Fargo National Association’s motion to transfer the

case to the United States District Court, District of Arizona, Phoenix Division, the district and

division where the subject property is located. The time to resist the motion passed, and on

September 7, 2012, plaintiffs and defendant Premier Financial Services, Inc., were granted to

until on or before September 17, 2012, to respond to the motion. Plaintiffs moved for an

extension of time to respond, and they were given until on or before October 1, 2012, to respond.

That date has long since passed with no resistance to the motion to transfer.

       Defendant Wells Fargo National Association asserts meritorious reasons to transfer. See

28 U.S.C. § 1404(a) (governing transfer of cases). Moreover, an unresisted motion may be
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granted without notice. LR 7.f. Accordingly, defendant Wells Fargo National Association’s

motion to transfer is GRANTED; the Clerk of Court is ORDERED to transfer this case to the

United States District Court, District of Arizona.

       DATED this 30th day of October, 2012.


                                                         ______________________________
                                                         Harold D. Vietor
                                                         Senior United States District Judge




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